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                                                                                 FILED: April 7, 2020

                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT

                                                ___________________

                                                   No. 20-1392
                                            (1:18-cv-00891-LCB-JEP)
                                              ___________________

        GUILFORD COLLEGE; GUILFORD COLLEGE INTERNATIONAL CLUB; THE NEW
        SCHOOL; FOOTHILL- DE ANZA COMMUNITY COLLEGE DISTRICT;
        HAVERFORD COLLEGE; THE AMERICAN FEDERATION OF TEACHERS; JIA YE;
        SEN LI

                       Plaintiffs - Appellees

        v.

        CHAD F. WOLF, Acting Secretary of Homeland Security; UNITED STATES
        DEPARTMENT OF HOMELAND SECURITY; L. FRANCIS CISSNA; UNITED
        STATES CITIZENSHIP AND IMMIGRATION SERVICES

                       Defendants - Appellants


        This case has been opened on appeal.

        Originating Court         United States District Court for the Middle District of North
                                  Carolina at Greensboro
        Originating Case          1:18-cv-00891-LCB-JEP
        Number
        Date notice of appeal 04/03/2020
        filed in originating
        court:
        Appellant(s)              CHAD WOLF; UNITED STATES DEPARTMENT OF
                                  HOMELAND SECURITY; L. FRANCIS CISSNA; UNITED
                                  STATES CITIZENSHIP AND IMMIGRATION SERVICES
        Appellate Case            20-1392
        Number
        Case Manager              Kirsten Hancock
                                  804-916-2704




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